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Exhibit 38
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From: Teamster News <TeamsterNews@apa1224.org>
Date: December 22, 2016 at 4:00:53 PM EST
To: Teamster News <TeamsterNews@apa1224.org>
Subject: Atlas Chairman's Update
Reply-To: ExcoAtlas <ExcoAtlas@apa1224.org>

                                            December 22, 2016


            Airline Professionals Association | Teamsters Local 1224
                       Affiliated with the International Brotherhood of Teamsters




  Atlas Chairman’s Update

  Fellow Atlas Crew Members,

  We are quickly coming upon the holiday season and the end of 2016. I hope you all enjoyed the
  Christmas card you received from the Atlas Family Awareness Committee and your Atlas
  Teamster leadership. I also hope that as many of you as possible are home and enjoying your
  family and friends during the holidays.

  This past year has been one of great accomplishments and solidarity for our Teamster pilot
  group. You have shown great mettle and resolve, which have helped us well on our journey to
  get the CBA and resulting airline we all deserve. Your support for our union’s efforts has been
  inspiring and only serves to make us stronger every day. The contrast between Atlas Air and the
  rest of the airline industry as to how they treat and compensate their pilots is staggering, and
  you are now well aware of where we currently stand in comparison. Indeed, I wish I could share
  all of the many, many stories I received this year from our pilots who have gone to the major
  airlines. In short, they and their families cannot believe the transformation they are now
  experiencing. There is no reason this same working environment and quality of life should not
  be occurring here – and that is what we are working towards.

  Unfortunately, the company remains entrenched in its quest to keep us at the low “bargain
  rates” they currently enjoy for pilot labor. They apparently intend to fight and litigate their way
  through the current real, and even some perceived, controversies well into 2017. To that end, I
  include with this message the latest “gift” from Atlas management. Feel free to draw your own
  conclusions, and know that your Teamster leadership disagrees with virtually everything that is
  stated in the letter.

  December 19, 2016 – Letter to Daniel Wells and Robert Kirchner from Captain Carlson

  December 21, 2016 – Response to Captain Carlson from Daniel Wells and Robert Kirchner

  I will have more details for you in the coming weeks.
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On behalf of myself, the Atlas ExCo, all the many dedicated, faithful UNION workers and families
here at Atlas Air, we want to extend our warmest and most heartfelt wishes to all of you and
your families for the very Happiest Holiday Season.

“All-In”

Fraternally,

Bob Kirchner
Atlas ExCo Chairman
APA Teamsters Local 1224




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WHO WE REPRESENT

Local 1224 is the certified bargaining unit that represents all flight crew members employed by ABX Air, Allegiant Air,
Atlas Air, Cape Air, Horizon Air, Kalitta Air, Kalitta Charters II, Miami Air, Omni Air International, Silver Airways,
Southern Air and USA 3000.

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